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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00078 MCE
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   LITTANOVONE KEOPADUBSY,                              DATE: December 11, 2014
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Morrison C. England, Jr.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on December 11, 2014.

21          2.       By this stipulation, defendant now moves to continue the status conference until January

22 15, 2015, and to exclude time between December 11, 2014, and January 15, 2015, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     The government has represented that the discovery associated with this case

25          includes hours of video recordings and voluminous reports. All of this discovery has been either

26          produced directly to counsel and/or made available for inspection and copying.

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      STIPULATION AND ORDER REGARDING EXCLUDABLE TIME     1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:13-cr-00078-DAD Document 87 Filed 12/29/14 Page 2 of 3


 1               b)        Counsel for defendant desires additional time to consult with his client and review

 2        the materials.

 3               c)        Counsel for defendant believes that failure to grant the above-requested

 4        continuance would deny him/her the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6               d)        The government does not object to the continuance.

 7               e)        Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10               f)        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of December 11, 2014 to January 15,

12        2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13        T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14        of the Court’s finding that the ends of justice served by taking such action outweigh the best

15        interest of the public and the defendant in a speedy trial.

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     STIPULATION AND ORDER REGARDING EXCLUDABLE TIME    2
     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:13-cr-00078-DAD Document 87 Filed 12/29/14 Page 3 of 3


 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: December 16, 2014                                  BENJAMIN B. WAGNER
 7                                                             United States Attorney
 8
                                                               /s/ PAUL A. HEMESATH
 9                                                             PAUL A. HEMESATH
                                                               Assistant United States Attorney
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11
     Dated: December 16, 2014                                  /s/ MARK REICHEL
12                                                             MARK REICHEL
13                                                             Counsel for Defendant
                                                               LITTANOVONE KEOPADUBSY
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17                                                     ORDER

18          IT IS SO ORDERED.

19 DATED: December 24, 2014

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21                                                 MORRISON  N C. ENGLLAND, JR, C
                                                                                CHIEF JUDG  GE
                                                   UNITED ST TATES DISSTRICT COU  URT
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      STIPULATION AND ORDER REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT
